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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                            CRIMINAL ACTION


VERSUS                                                              NO. 13-205


ROMALIS PARKER, ET AL.                                              SECTION: "E" (2)


                                      ORDER AND REASONS

         This is criminal action charging twelve defendants with violations of the

Racketeer Influenced Corruption Organization Act ("RICO"),1 the Violent Crimes in Aid

of Racketeering Act ("VICAR"),2 the Federal Controlled Substances Act ("FCS"),3 and

the Federal Gun Control Act ("FGC").4 Three defendants—Romalis Parker ("Parker"),

Nyson Jones ("Jones"), and Sidney Patterson ("Patterson")—have filed motions to

suppress.5      The questions presented by each motion are whether the challenged

evidence was seized in violation of the Fourth Amendment, and, if so, whether the

exclusionary rule should apply. Patterson's motion presents the additional question of

whether his confession to police should be suppressed. For the following reasons, the

Motions are DENIED in their entirety.

                                          BACKGROUND

         On September 19, 2013, a federal grand jury in the Eastern District of Louisiana

returned a twenty-count indictment.6           Count 1 charges Patterson and two other


1 18 U.S.C. § 1961 et seq.
2 18 U.S.C. § 1959.
3 21 U.S.C. § 841 et seq.
4 18 U.S.C. § 921 et seq.
5 R. Docs. 260, 278, 277, respectively.
6 R. Doc. 1.


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defendants (the "RICO Defendants") with membership in a criminal enterprise

operating in the Eighth Ward of New Orleans known as "Ride or Die." Count 1 further

charges a broad RICO conspiracy to distribute controlled substances and to commit

murder, robbery, battery, and assault in furtherance of the conspiracy. These violent

acts frequently involved the use of firearms. Count 1 contains 52 overt acts, including

the murder of four individuals. Each of the non-RICO Defendants is mentioned at least

once in the overt acts section of Count 1.

        Count 2 charges all defendants with conspiracy to distribute and possess with the

intent to distribute 280 grams or more of crack cocaine and non-specific quantities of

heroin and marijuana. Count 3 charges the defendants with conspiracy to possess and

use firearms in furtherance of the crimes charged in Counts 1 and 2. Counts 4 through

20 charge individual defendants with various violations of the FCS, the VICAR, and the

FGC.

                                        LEGAL STANDARD

        The Fourth Amendment protects "[t]he right of the people to be secure in their

persons, houses, papers, and effects, against unreasonable searches and seizures,"7 but

does not expressly prohibit the use of evidence obtained in violation of its commands.8

This rule—the so-called "exclusionary rule"—was created by the courts.9 Its purpose is

to deter future Fourth Amendment violations, rather than redress the injury occasioned




7 U.S. Const. amend. IV.
8 Arizona v. Evans, 514 U.S. 1, 10 (1995).
9 United States v. Calandra, 414 U.S. 338, 347 (1974).


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by an unconstitutional search or seizure.10 Accordingly, "where suppression fails to

yield 'appreciable deterrence,' exclusion is 'clearly . . . unwarranted.'"11

        As a general rule, the proponent of a motion to suppress must prove by a

preponderance of the evidence that the evidence in question was obtained in violation of

his or her Fourth Amendment rights.12 In the case of warrantless search or seizure, the

burden shifts to the Government to prove by a preponderance of the evidence that its

actions were constitutional.13

                                            DISCUSSION

        Parker, Jones, and Patterson each filed a motion to suppress. The Court held an

evidentiary hearing.14 The Court's findings are below.

I.      Parker

        Parker moves to suppress an AK47 assault rifle found in his bedroom closet

during the execution of a search warrant at 2832 Law Street on March 23, 2010. Aline

Parker ("A. Parker"), Parker's mother, cleaned her son's bedroom on the morning of

March 23, 2010. She testified the closet door was closed at that time. She did not

observe the AK47 assault rifle at any point during her morning cleaning.

        At some point after A. Parker finished cleaning, Parker's girlfriend, Ashley Smith

("Smith"), entered Parker's bedroom.                 Smith remained in the bedroom for an




10 See United States v Leon, 468 U.S. 897, 906 (1984).
11 Davis v. United States, 131 S. Ct. 2419, 2426–27 (2011) (alteration in original) (quoting United States v.

Janis, 428 U.S. 433, 454 (1976)).
12 United States v. Iraheta, 764 F.3d 455, 460 (5th Cir. 2014).
13 United States v. Guerrero-Barajas, 240 F.3d 428, 432 (5th Cir. 2001).
14 When confronted with a motion to suppress, the court should hold an evidentiary hearing "if the

defendant alleges sufficient facts which, if proven, would justify relief." United States v. Harrelson, 705
F.2d 733, 737 (5th Cir. 1983). The Court is satisfied the moving defendants have made this showing.

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indeterminate amount of time. A. Parker did not reenter the bedroom after Smith

exited and before NOPD executed the search warrant.15

       At approximately 3:25 p.m., Detective Michael Sinegar and Officers Ananie

Mitchell and Junious Grady executed a search warrant at 2832 Law Street. The object

of the search warrant was a flat-screen television NOPD believed Parker stole from

another residence. At this time, the officers also attempted to execute an arrest warrant

for Parker in connection with the alleged burglary.

       After showing the warrants to A. Parker, officers entered the residence. Parker

was not home. Officer Mitchell and Officer Grady entered Parker's bedroom. The closet

door was open.16 The officers observed an AK47 assault rifle in plain sight. Officer

Grady yelled "gun!" Detective Sinegar heard this call and entered the bedroom. To his

right, Detective Sinegar observed a flat screen television sitting atop the chest of

drawers. To his left, Detective Sinegar observed an assault rifle inside the bedroom

closet.17 Officer Grady ran the serial number of the firearm through NOPD's system.

The check did not reveal the firearm was stolen. The barrel of the firearm had not been

illegally modified. In short, it was not immediately apparent that the firearm was illegal

or that it had been used for illicit activity.

       Officers subsequently informed A. Parker of the firearm.18 A. Parker told the

officers it did not belong to her and did not belong in the house. A. Parker requested the

officers to remove the firearm from the house. Officers left the house with the firearm

and the flat-screen television.

15 For this reason, A. Parker was unable to testify as to whether the closet door was open at the time

officers entered the bedroom.
16 Detective Sinegar testified that Officers Mitchell and Grady informed him the closet door was open

when they entered. The police report also reflects the closet door was open.
17 The closet door was still open.
18 A. Parker sat in the living room while officers searched her son's bedroom.


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       On April 19, 2013, NOPD ran a ballistics check on the firearm.                   The check

allegedly revealed the firearm was used to perpetrate a murder. From the time NOPD

seized the firearm until the time NOPD ran the ballistics check, neither Parker nor any

other party challenged NOPD's possession of the firearm or requested its return.

       Parker now moves to suppress the firearm as the product of an illegal search and

seizure. The parties spill much ink arguing whether the seizure was justified under the

"plain view" exception to the warrant requirement. The Court need not decide this issue

today, for even if the search and seizure was "unreasonable" under the Fourth

Amendment, suppression is not warranted.

       The Supreme Court has "repeatedly rejected the argument that exclusion is a

necessary consequence of a Fourth Amendment violation."19                   This is because the

exclusionary rule is not a "personal constitutional right" but is instead a prophylactic

rule designed to deter future Fourth Amendment violations.20 To determine whether

exclusion is appropriate, a court should weigh the "deterrence benefits of suppression"

against the "heavy costs" of exclusion.21 As explained more fully below, the Court finds

in this situation that any benefits of suppression are significantly outweighed by the

costs of exclusion.

       It is well established that deterrence benefits "var[y] with the culpability of law

enforcement conduct."22 When officers act with "deliberate," "reckless," or "grossly

negligent" disregard for Fourth Amendment rights, "the deterrent value of exclusion is




19 Herring v. United States, 555 U.S. 135, 141 (2009); see also Davis, 131 S. Ct. at 2427 (noting the

exclusionary rule is a not a "self-executing mandate implicit in the Fourth Amendment.").
20 Davis, 131 S. Ct. at 2426.
21 See id. at 2427. Parker did not even attempt to engage in this balancing exercise.
22 Herring, 555 U.S. at 143.


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strong and tends to outweigh the resulting costs."23 If, on the other hand, officers

exhibit simple negligence or act with an objectively good faith belief that their conduct is

lawful, exclusion is generally inappropriate.24

        The deterrence benefits of exclusion in this case are extremely low, if not entirely

absent. While lawfully inside a residence, officers observed an assault rifle through the

open door of a closet in the bedroom of a 17-year old male. The mother and owner of

the home requested this dangerous weapon be removed immediately. Under these

circumstances, it was objectively reasonable for officers to believe A. Parker could

lawfully consent to search and seizure of the firearm.25

        In sum, the officers did not engage in "intentional conduct that was patently

unconstitutional," or conduct that constitutes "recurring or systemic negligence."26

Accordingly, assuming arguendo a Fourth Amendment violation occurred, suppression

would have a de minimis deterrent value.                    Because the "deterrence benefits of

suppression" do not "outweigh its heavy costs," the "harsh sanction of exclusion" is

inappropriate.27

II.     Jones

        Jones moves to suppress a firearm seized during a traffic stop on July 30, 2012.28

At approximately 10:45 p.m. that evening, Officers Sean Ogden and Christopher Carter



23 Davis, 131 S. Ct. at 2427.
24 See id. at 2427–28.
25 The Court makes no finding as to whether A. Parker could consent to the search and seizure as a matter

of law. Rather, the Court finds it was objectively reasonable for officers to believe she could consent in
light of her status as the owner of the home, Parker's status as a minor, and A. Parker's statement that the
firearm did not belong in her home.
26 See Herring, 555 U.S. at 702.
27 See id. at 2427–28.
28 Jones initially also moved to suppress the marijuana referenced in Overt Act 10 of the Indictment.

Defense counsel conceded during the evidentiary hearing that his argument for suppression was premised
on an erroneous view of the facts. The testimony was clear that Jones voluntarily discarded the marijuana

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observed a vehicle disregard a stop sign at the intersection of Music Street and North

Roman Street. The officers activated the lights and sirens of their police cruiser. The

driver eventually stopped the target vehicle, exited, and began to walk away. The

officers called the driver back to the vehicle. While Officer Carter questioned the driver,

Officer Ogden approached the stopped vehicle from the rear. He noticed passengers in

the front and back seats. While approaching the vehicle, Officer Ogden observed the

passenger in the front seat—later determined to be Jones—bend forward towards the

floorboard of the vehicle. Officer Ogden became concerned for his safety and asked to

see Jones's hands. Jones did not comply. Officer Ogden asked again to see Jones's

hands.     This time, Jones complied.       As Officer Ogden continued to approach the

passenger side of the vehicle, he noted the presence of three young children in the

backseat. Officer Ogden then opened the passenger door, observing what he believed to

be a handgun partially concealed in a shoe. Jones exited the vehicle with his hands

raised. Officer Ogden immediately placed Jones in handcuffs and escorted him to the

rear passenger side of the stopped vehicle. Officer Ogden returned to the passenger seat

of the vehicle and removed a loaded handgun and a separate high-capacity magazine.

Officer Ogden placed these items in the police cruiser.

         At some point during this encounter, Jones stated that he found the firearm

approximately fifteen minutes before the traffic stop and that he planned to store the

firearm underneath his mattress.29 Officer Ogden ran a computer check on Jones,

which revealed he was a convicted felon. Jones was placed under arrest for unlawful

possession of a firearm by a convicted felon.           Officer Ogden estimated the entire


while the police were approximately one-and-a-half blocks away. Counsel conceded it was proper for
officers to retrieve the marijuana and that no Fourth Amendment violation occurred.
29 The record is unclear exactly when Officer Ogden began to question Jones.


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investigation—including the time it took to complete paperwork on the scene—lasted

approximately one hour.

         Jones now moves to suppress the firearm as the fruit of an unconstitutional

search and seizure. The stop of a vehicle and detention of its occupants constitutes a

"seizure" under the Fourth Amendment.30 The legality of a traffic stop is analyzed under

the two-part test set forth in Terry v. Ohio.31 First, the Court inquires whether the

traffic stop was justified at its inception.32 If so, the Court inquires "whether the officer's

subsequent actions were reasonably related in scope to the circumstances that justified

the stop."33

         Regarding the first prong, a traffic stop is justified at its inception when an officer

has reasonable suspicion that a traffic violation occurred or is about to occur.34 Officer

Ogden observed the target vehicle disregard a stop sign—a clear traffic violation.

Accordingly, the constitutionality of this traffic stop vel non turns on the second prong

of the Terry test.

         Once lawfully stopped, the detention must last no longer than necessary to

effectuate the purpose of the stop.35                  During this time, an officer may order the

occupants out of the car,36 ask the occupants for identification and run a computer

check for outstanding warrants,37 and engage in "wide-ranging" questioning unrelated



30 United States v. Raney, 633 F.3d 385, 389 (5th Cir. 2011).
31 392 U.S. 1 (1968); see also United States v. Jenson, 462 F.3d 399, 403 (5th Cir. 2006) ("We analyze the

validity of traffic stops under Terry . . . .").
32 United States v. Brigham, 382 F.3d 500, 506 (5th Cir. 2004) (en banc).
33 Id.
34 See United States v. Lopez-Moreno, 420 F.3d 420, 430 (5th Cir. 2005).      "An officer may stop a motorist
for a traffic violation even if, subjectively, the officer's true motive is to investigate unrelated criminal
offenses." United States v. Sanchez-Pena, 336 F.3d 431, 437 (5th Cir. 2003).
35 Brigham, 382 F.3d at 507.
36 Maryland v. Wilson, 419 U.S. 408, 414–15 (1997).
37 United States v. Pack, 612 F.3d 341, 350–51 (5th Cir. 2010).


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to the purpose of the traffic stop.38 As a general rule, if all computer checks come back

clean, any questioning must stop, and the driver and passengers must be released.39 If,

however, additional reasonable suspicion arises before the initial purpose of the stop

has been fulfilled, the detention may continue until the new reasonable suspicion has

been dispelled or confirmed.40 In determining whether reasonable suspicion develops,

a court "must look at the 'totality of the circumstances' of each case to see whether the

detaining officer has a 'particularized and objective basis' for suspecting legal

wrongdoing."41

        As a preliminary matter, the Court finds Jones was not detained longer than

necessary to effectuate the initial purpose of the stop—to investigate the traffic violation.

"There is . . . no constitutional stopwatch on traffic stops."42 Furthermore, there is no

per se rule that an officer conducting a traffic stop must immediately initiate the

relevant background checks before asking questions.43

        More importantly, even if the seizure lasted longer than necessary to investigate

the traffic violation, it was justified by the development of additional reasonable

suspicion. As he approached the stopped vehicle, Officer Ogden observed Jones bend

towards the floorboard.         Officer Ogden asked to see Jones's hands. Jones did not

immediately comply. After Jones exited the vehicle, Officer Ogden discovered a loaded

firearm and a high-capacity magazine. Jones explained (quite conveniently) that he

discovered the firearm fifteen minutes before the traffic stop.                  Recognizing Officer
38 See Lopez-Moreno, 420 F.3d at 430–31.       "This is because detention, not questioning, is the evil at
which Terry's second prong is aimed." United States v. Macias, 658 F.3d 509, 517 (5th Cir. 2011)
(internal quotation marks omitted).
39 United States v. Jenson, 462 F.3d 399, 404 (5th Cir. 2006).
40 Lopez-Moreno, 420 F.3d at 431.
41 United States v. Arvizu, 534 U.S. 266, 273 (2002) (quoting United States v. Cortez, 449 U.S. 411, 417–

18 (1981)).
42 Brigham, 382 F.3d at 511.
43 United States v. Estrada, 459 F.3d 627, 631 (5th Cir. 2006); Brigham, 382 F.3d at 511.


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Ogden's right "to draw on [his] own experience and specialized training to make

inferences from and deductions about the cumulative information available to [him]

that 'might well elude an untrained person,'"44 the Court finds Officer Ogden had

reasonable suspicion to believe the firearm was connected with illegal activity or

possessed illegally. Accordingly, Officer Ogden was entitled to "diligently pursue a

means of investigation that was likely to confirm or dispel [his] suspicions quickly."45

He did just that.

         Having determined the detention was constitutionally permissible, the Court

must now determine whether the warrantless seizure of Jones's property—the firearm—

was unreasonable. The "plain view" doctrine will support a warrantless seizure if the

following requirements are met: (1) the officer is lawfully in the position from which he

or she views the evidence; (2) the incriminating nature of the evidence is immediately

apparent; and (3) the officer has a lawful right of access to the evidence.46

         Jones argues the second prong is not met because Officer Ogden was unaware of

his felony conviction at the moment the firearm was removed from the vehicle. It was

not until after the firearm was seized and Officer Ogden ran a background check that he

discovered Jones was a convicted felon. Under these circumstances, Jones argues the

firearm must be suppressed.

         In United States v. Roberts, officers entered an apartment for the purpose of

executing an arrest warrant.47 Once inside, officers discovered two firearms.48 There




44 Arvizu, 534 U.S. at 272(quoting Cortez, 449 U.S. at 418).
45 Brigham, 382 F.3d at 511 (quoting United States v. Sharpe, 470 U.S. 675, 686 (1985)).
46 United States v. De Jesus-Batres, 410 F.3d 154, 159 (5th Cir. 2005).
47 612 F.3d 306, 313 (5th Cir. 2010).
48 Id.


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were five individuals in the apartment.49 The officers lined the individuals up against

the wall and then removed the firearms from the apartment.50 While investigating the

individuals in the apartment, officers learned that one of the individuals was an

unlawful user of a controlled substance and that another had a prior felony conviction.51

Thus, it was illegal for those individuals to possess the firearms—a fact that was

unknown to officers when they removed the firearms from the residence.52

         Even though the incriminating nature of the firearms was not immediately

apparent at the moment of removal, the Fifth Circuit upheld the temporary seizure as

necessary to ensure officer safety.53   "The individuals [in the apartment] were not

handcuffed or incapacitated and in the event of a scuffle could have accessed the

unsecured weapons."54 Under these circumstances, the court held officers were entitled

to maintain control over the firearms until they completed their investigation of the

individuals in the apartment.55 Because officers discovered during that investigation the

firearms were illegally possessed, "the illegality of the firearms became apparent such

that permanent seizure was warranted."56

         As in Roberts, the temporary seizure in this case was necessary to ensure the

safety of the officers. Although Jones was handcuffed at the rear of the vehicle, the

record is unclear whether the driver of the vehicle was in handcuffs and therefore could

have gained access to the firearm. More importantly, there were three young children in

the backseat. While Officer Ogden and Officer Carter engaged the passenger and driver,

49 Id.
50 See id.
51 Id. at 314.
52 See id.
53 Id. at 313–14.
54 Id. at 313.
55 Id. at 314.
56 Id. at 313.


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respectively, the children were left in the car. Only the front passenger seat separated

the children from a loaded firearm and a high-capacity magazine.                      Under these

circumstances, temporary seizure of the firearm was reasonable—if not necessary—to

secure the safety of the officers and the vehicle's occupants.57 Once seized for this

purpose, and upon discovery that Jones was a convicted felon, "the incriminating nature

of the weapon became apparent and it was then subject to permanent seizure as

contraband."58

III.   Patterson

       Patterson moves to suppress several items of evidence: (1) marijuana abandoned

during a police chase on March 1, 2008; (2) cocaine seized during a search incident to

arrest on March 30, 2008; (3) a firearm discovered and an incriminatory statement

made during a traffic stop on May 26, 2010; and (4) marijuana and crack cocaine seized

during a warrantless search of a residence on September 15, 2011.

       A. The March 1, 2008 Incident

       At approximately 2:00 p.m. on March 1, 2008, Detective Dan Malo, Detective

Athena Monteleone, and Sergeant Nicole Barbe received a complaint about two black

males selling marijuana on the 1100 block of Canal Street. The complaint described the

clothing of the suspects.

       Detectives Malo and Monteleone proceeded to the 1100 block of Canal Street in

an unmarked Chevy Impala. Upon arrival, they observed two individuals—one of whom

was later identified as Patterson—matching the physical description in the complaint.


57 See id. at 314 ("The officers acted reasonably—the touchstone requirement of the Fourth Amendment—

in seizing the weapons for the safety of themselves and the apartment's occupants."); cf. Arizona v.
Johnson, 555 U.S. 323, 330 ("[T]he [Supreme] Court has recognized that traffic stops are 'especially
fraught with danger to police officers.'") (quoting Michigan v. Long, 463 U.S. 1032, 1047 (1983)).
58 United States v. Rodriguez, 601 F.3d 402, 408 (5th Cir. 2010).


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Detectives Malo and Monteleone exited their vehicle.                  Detective Monteleone was

dressed in plain clothes with police credentials around her neck. Patterson and the

other individual briefly conferred with each other, turned around, and starting walking

in the opposite direction of the detectives. The detectives identified themselves as police

officers and ordered Patterson and the other individual to stop. They did not, and a

chase ensued. Detective Monteleone pursued Patterson. Patterson eventually ran up

the steps to a restaurant on 1104 Canal Street.              Detective Montelone was in close

pursuit. As he was ascending the stairs, Patterson reached into his left cargo pocket and

retrieved a clear plastic bag. Patterson discarded the bag into an open trash can at the

top of the stairs. Patterson then entered a small room in the restaurant. With nowhere

to go, Patterson submitted to Detective Monteleone and was placed under arrest.

Officers subsequently retrieved the plastic bag abandoned during the chase. The bag

contained numerous smaller bags of marijuana.

       Patterson appears to argue the marijuana should be suppressed, because officers

did not have probable cause to arrest him.59               The Government appears to argue

detectives were in "hot pursuit" of Patterson following a permissible Terry stop.60 Both

arguments miss the mark.

       The pertinent analysis begins with California v. Hodari D.,61 a Supreme Court

case with substantially similar facts. In that case, officers were patrolling a high-crime

area in an unmarked police vehicle when they noticed several youths huddled around a




59 The basis for suppression is difficult to discern from Patterson's motion. See R. Doc. 317, p. 2–3.

Moreover, as explained more fully below, whether officers had probable cause to arrest Patterson is not
relevant to whether the seizure of marijuana was unconstitutional.
60 The Government's memorandum is similarly difficult to follow. See R. Doc. 284, p. 6.
61 499 U.S. 621 (1991).


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car on the curb.62 Upon observing the unmarked vehicle, the youths attempted to run

away.63 An officer exited the vehicle wearing a jacket embossed with "Police" on the

front and back.64 The officer pursued one of the fleeing youths, Hodari, on foot.65

During the chase, Hodari discarded a quantity of crack cocaine.66 "A moment later," the

officer tackled Hodari, handcuffed him, and radioed for assistance.67 Hodari moved to

suppress the cocaine as fruit of an illegal seizure.68

         Assuming arguendo officers did not have reasonable suspicion to conduct a

Terry stop of Hodari,69 the issue before the Court was "whether, at the time he dropped

the drugs, Hodari had been 'seized' within the meaning of the Fourth Amendment."70

The Court noted that a seizure requires "either physical force . . . or, where that is

absent, submission to the assertion of authority."71 At the time Hodari discarded the

drugs, he was not subjected to physical force and had not submitted to the officer's show

of authority.72 Therefore, Hodari was not "seized" for Fourth Amendment purposes,

and the drugs could not have been the fruit of an unlawful seizure.73

         This case, like Hodari D., involved the voluntary abandonment of contraband

prior to the application of physical force or submission to authority. Because there was




62 Id. at 622.
63 Id. at 622–23.
64 Id. at 622.
65 Id. at 623.
66 Id.
67 Id.
68 Id. at 623.
69 Id. at 623 n.1.
70 Id. at 623.
71 Id. at 627 (emphases in original).
72 Id. at 629.
73 Id.


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no seizure,74 the Fourth Amendment is not implicated.75 There is no legal basis for

suppressing the marijuana.76

        B. The March 30, 2008 Incident

        At approximately 11:10 p.m. on March 30, 2008, Officers Michael Pierce and

Corey McCain observed a vehicle disregard a stop sign at the intersection of Claiborne

Avenue and Frenchman Street. The officers activated the lights and sirens of their

police cruiser. The target vehicle pulled over to the side of road. There were two

occupants. The officers asked for identification. Neither the driver nor the passenger

had an identification card on his person but both offered their names. The passenger

identified himself as Sidney Patterson. Officers subsequently ran a background check

and discovered an outstanding traffic warrant for Patterson. Patterson was placed

under arrest. Officer McCain conducted a search incident to arrest and seized three

bags of crack cocaine wrapped inside of a one-dollar bill.

        Patterson moves to suppress the cocaine for two reasons. First, NOPD has not

provided sufficient evidence that the traffic warrant was active at the time of Patterson's
74 See United States v. Silva, 957 F.2d 157, 159 (5th Cir. 1992) ("To effect a show of authority seizure, the

suspect must yield to or comply with that show of authority."); United States v. Jones, 347 F. App'x 129,
135 (5th Cir. 2009) ("A police officer's show of authority does not effectuate a seizure unless the person
yields or the officer applies physical force to restrain movement.").
75 See Jones, 347 F. App'x at 135 ("[I]tems discarded by a fleeing suspect are abandoned and may be seized

without reasonable suspicion or probable cause where the suspect has not yet been seized."); United
States v. Gonzalez, 912 F. Supp. 256, 258 (S.D. Tex. 1995) ("If there were no seizure of Defendant by the
agents, no Fourth Amendment concerns are implicated."); cf. United States v. Valdiosera-Godinez, 932
F.2d 1093, 1099 (5th Cir. 1991) ("Because the officers' conduct did not implicate the Fourth Amendment,
it need not have been justified by reasonable suspicion.").
76 Even if it could be argued that Patterson was "seized" for Fourth Amendment purposes when he

discarded the marijuana, the seizure was justified by reasonable suspicion. See Silva, 957 F.2d at 161
(finding no Fourth Amendment violation where officer pursued defendant with reasonable suspicion and
defendant discarded contraband during pursuit). Reasonable suspicion was established by the fact that
Patterson fit the description of a person suspected of selling narcotics and the fact that Patterson ran from
the officers unprovoked. See Illinois v. Wardlow, 528 U.S. 119, 124 (2000) (finding reasonable suspicion
where defendant fled from officers unprovoked in high-crime area). Moreover, to the extent Patterson
challenges the warrantless search of the trashcan, that argument clearly fails, because Patterson has no
legitimate expectation of privacy in a public trashcan. See United States v. Iraheta, 764 F.3d 455, 461
(5th Cir. 2014) ("In order to claim the Fourth Amendment's protection, a defendant must have a
legitimate expectation of privacy in the invaded place.") (internal quotation marks omitted).

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arrest.     Second, the questioning of Patterson—the passenger of the vehicle—was

improper, because officers did not have reasonable suspicion he was engaged in

criminal activity. Neither of these arguments need detain the Court very long.

          Regarding the first, NOPD has introduced sufficient evidence of an extant traffic

warrant on the date of arrest. Regarding the second, it is well established that officers

may ask questions of and run background checks on the passengers of a vehicle while

conducting a valid traffic stop.77 It is equally well established that officers may search a

person incident to arrest without running afoul of the Fourth Amendment.78

          C. The May 26, 2010 Incident

          At approximately 2:50 p.m. on May 26, 2010, Officers Jehan Senananyake and

Daniel Bagneris were patrolling a high-crime area in a marked police vehicle when they

observed a civilian vehicle disregard a stop sign at the intersection of North Rocheblave

and Eads Street. The police vehicle activated its lights and siren.              The target vehicle

stopped. The windows were completely rolled down. Officer Bagneris approached the

driver side of the stopped vehicle while Officer Senananyake approached the passenger

side.     During this approach, Officer Senananyake observed the passenger—later

determined to be Patterson—continually look at the approaching officer through the

side mirror. Officer Senananyake further observed Patterson remove a metallic object

from his waistband and place it between the passenger seat and the center console.

When Officer Senananyake arrived at the passenger door, he observed the butt of a

firearm inside the vehicle.        Officer Senananyake informed Officer Bagneris of his



77 See Pack, 612 F.3d at 351.
78 Virginia v. Moore, 553 U.S. 164, 176 (2008) ("We have recognized . . . that officers may perform

searches incident to constitutionally permissible arrests in order to ensure their safety and safeguard
evidence.").

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observation. The officers ordered all occupants out of the vehicle,79 placed them in

handcuffs, and advised them of their Miranda rights.80 Officer Bagneris subsequently

retrieved a semi-automatic handgun from the stopped vehicle. A record check revealed

the firearm was stolen. Officers then ran a background check on the occupants of the

stopped vehicle and discovered an outstanding traffic warrant for Patterson. Officer

Senanayake testified Patterson was placed under arrest and escorted to the police car.

Officers entered the police car with Patterson. Patterson was not advised of his Miranda

rights for a second time.           While the officers were completing paperwork for this

incident, Patterson stated unprovoked that he had been shot once before and that he

purchased the firearm off the streets for protection. Patterson offered this statement

freely and voluntarily. It was not given in response to any question by the officers or

during the course of any conversation with the officers.

        Patterson moves to suppress both the firearm and the statement given to officers

regarding the firearm. The Court addresses each argument separately. As explained

more fully below, neither has merit.

                i. The Firearm

        Patterson appears to argue the firearm is the fruit of an illegal Terry stop.81 The

Government has proved by a preponderance of the evidence officers had reasonable

suspicion that a traffic violation occurred.82 Because the traffic stop was justified at its

inception, the Court must determine whether it "last[ed] no longer than is necessary to



79 There were three individuals in the vehicle, including Patterson.
80 The Court makes no finding as to whether the occupants were under arrest at this time.
81 Once again, Patterson's argument for suppression is inchoate and difficult to follow. See R. Doc. 317, p.

5–7.
82 In his opposition memorandum, "Defendant insists that the officers did not observe the driver of the

vehicle run a stop sign," id. at p. 6, yet offers no evidence in support.

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effectuate the purpose of the stop, unless further reasonable suspicion, supported by

articulable facts, emerge[d] ."83

        As discussed earlier, while conducting a traffic stop, officers may order the

passengers out of the car and run background checks. That officers first checked the

firearm before running background checks on the passengers did not impermissibly

extend the duration of the stop.84 But even if it did, this brief extension was justified by

reasonable suspicion.          The traffic stop occurred in a high-crime area, which is a

"relevant contextual consideration[] in a Terry analysis."85                           Moreover, Officer

Senanayake testified he observed Patterson nervously remove a metallic item from his

waistband. Officer Senanayake further believed the target vehicle had initially been

avoiding another police vehicle. These circumstances provided a "particularized and

objective basis for suspecting legal wrongdoing."86

        Having determined the detention was constitutionally permissible, the Court

must now determine whether the warrantless seizure of Patterson's firearm was

reasonable. For substantially the reasons set forth in Section II of this Order, the

temporary seizure of the firearm while officers completed their investigation was

reasonable under the Fourth Amendment.87                         During the investigation, officers

discovered the firearm was stolen. At this point, the firearm was subject to permanent

seizure as contraband.88


83 Brigham, 382 F.3d at 507.
84 Cf. id. at 511 (holding that there is no "per se rule requiring an officer immediately to obtain the driver's

license and registration information and initiate the relevant background checks before asking
questions.").
85 Wardlow, 528 U.S. at 124.
86 Arvizu, 534 U.S. at 273 (internal quotation marks omitted).
87 Although the occupants of the vehicle were handcuffed, the temporary seizure of the firearm was

reasonable for officer safety in light of the special dangers inherent in traffic stops, Johnson, 555 U.S. at
330, and the fact that the traffic stop occurred in a high-crime area.
88 See Roberts, 612 F.3d at 314; Rodriguez, 601 F.3d at 408.


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                ii. The Confession

        Patterson argues he should have been re-advised of his Miranda rights after he

was arrested.        Because he was not, Patterson argues his statement to Officers

Senanayake and Bagneris should be suppressed. The Court disagrees.

        In the seminal case Miranda v. Arizona,89 the Supreme Court adopted a set of

warnings a suspect must be given "to safeguard the constitutional guarantee against

self-incrimination."90 Prior to custodial interrogation, the suspect must be warned that

(1) he has the right to remain silent, (2) anything he says can be used against him in a

court of law, (3) he has the right to the presence of an attorney during questioning, and

(4) if he cannot afford an attorney, one will be appointed for him prior to questioning if

he so desires.91 If, despite these warnings, the suspect makes a statement to police, the

statement is inadmissible in the Government's case-in-chief unless the Government can

show the suspect "voluntarily, knowingly, and intelligently waived his rights."92

        It is well established that the procedural safeguards of Miranda only apply when

a suspect is "in custody" and "subjected to interrogation."93 Because Patterson was

clearly in custody when the statement was made, the question presented is whether he

was subjected to interrogation.              For purposes of Miranda, interrogation occurs

"whenever a person in custody is subjected to either express questioning or its

functional equivalent."94 The functional equivalent of express questioning is defined as

"any words or actions on the part of the police (other than those normally attendant to

89 384 U.S. 436 (1966).
90 J.D.B. v. North Carolina, 131 S. Ct. 2394, 2401 (2011).
91 Florida v. Powell, 559 U.S. 50, 59–60 (2010).
92 See J.D.B., 131 S. Ct. at 2401 (internal quotation marks omitted).
93 Rhode Island v. Innis, 446 U.S. 291, 300 (1980); United States v. Webb, 755 F.2d 382, 391 (5th Cir.

1985) ("Miranda . . . applies only to statements made in the course of custodial interrogation) (emphasis
added).
94 Innis, 446 U.S. at 300–01.


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arrest and custody) that the police should know are reasonably likely to elicit an

incriminating response from the suspect."95

        The record is clear that at the time the statement was made, Patterson was not

under interrogation.          Rather, Patterson volunteered the statement unprovoked by

anything the officers said or did.             As the Court expressly clarified in Miranda,

"[v]olunteered statements of any kind are not barred by the Fifth Amendment and their

admissibility is not affected by our holding today."96                     In other words, without

interrogation, there can be no Miranda violation.97

        D. The September 15, 2011 Incident

        At approximately 4:50 p.m. on September 15, 2011, Officers Benja Johnson,

Pierce, and Senanayake observed several individuals shooting dice on the front porch of

a residence at 1632 Mandeville Street. Neither the owner nor lessee of the residence was

present.     Officers exited an unmarked vehicle to arrest the individuals for illegal

gambling.98       Upon viewing the officers, several individuals retreated inside the

residence.99     Officers Johnson and Pierce pursued them and entered the residence

without a warrant. Once inside, the officers seized crack cocaine and marijuana in plain

view in the living room.

        Patterson moves to suppress the evidence as fruit of an illegal search. He argues

the "hot pursuit" exception to the warrant requirement does not apply.                               The




95 Id. at 301 (footnote omitted).
96 384 U.S. at 478.
97 See Edwards v. Arizona, 451 U.S. 477, 485–86 (1981).
98 The record is unclear whether the individuals were actually gambling.    The Court need not decide this
issue today.
99 The record is unclear whether Patterson was on the porch or inside the residence when officers arrived.

Officer Johnson testified on direct examination that officers first encountered Patterson inside the
residence but on cross-examination testified that Patterson was initially on the porch.

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Government disagrees.            As explained more fully below, the parties have put the

proverbial cart before the horse.

        Patterson may not invoke the exclusionary rule unless his Fourth Amendment

rights have been violated.100 "[T]he extent to which the Fourth Amendment protects

people may depend upon where those people are."101                          In other words, Fourth

Amendment rights are "individually held" and may not be asserted "solely by reference

to a particular place."102 To establish a Fourth Amendment violation, the defendant

must prove by a preponderance of the evidence that he or she had a legitimate

expectation of privacy in the area searched.103 To determine if this burden is met when

police search real property,104 courts examine the following factors:

        whether the defendant has a [property or] possessory interest in the thing
        seized or the place searched, whether he has a right to exclude others from
        that place, whether he has exhibited a subjective expectation of privacy
        that it would remain free from governmental intrusion, whether he took
        normal precautions to maintain privacy and whether he was legitimately
        on the premises.105

While no one of these factors is dispositive, "together they represent the concerns that

should be addressed."106

        Patterson did not own or lease 1632 Mandeville Street.107 More importantly,

Patterson did not present evidence that he held a property or possessory interest in the

residence. Nor did he present evidence that he had the right to exclude others from the


100 Rakas v. Illinois, 439 U.S. 128, 134 (1978).
101 Minnesota v. Carter, 525 U.S. 83, 88 (1998).
102 United States v. Phillips, 382 F.3d 389, 495 (5th Cir. 2004) (quoting United States v. Vega, 221 F.3d

789, 797 (5th Cir. 2000)).
103 United States v. Ibarra, 948 F.2d 903, 905 (5th Cir. 1991); Vega, 221 F.3d at 796.
104 Kee v. City of Rowlett, Tex., 247 F.3d 206, 213 (5th Cir. 2001).
105 United States v. Cardoza-Hinojosa, 140 F.3d 610, 615 (5th Cir. 1998) (alteration in original) (quoting

Ibarra, 948 F.3d at 906); Vega, 221 F.3d at 795.
106 Cardoza-Hinojosa, 140 F.3d at 615.
107 This fact is not dispositive, because the Supreme Court has "held that in some circumstances a person

may have a legitimate expectation of privacy in the house of someone else." Carter, 525 U.S. at 89.

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residence, that he had a subjective expectation of privacy, that he took normal

precautions to maintain this privacy, or even that he was legitimately on the premises,

since neither the owner nor any lessee was present during the search. In fact, Patterson

explicitly disclaimed any connection with 1632 Mandeville Street in his motion to

suppress.108 As the Supreme Court recognized over thirty-five years ago: "A person who

is aggrieved by an illegal search and seizure only through the introduction of damaging

evidence secured by a search of a third person's premises or property has not had any

of his Fourth Amendment rights infringed."109                    Because Patterson has no Fourth

Amendment rights to assert, his suppression argument is rotten at its core.

                                            CONCLUSION

        For the reasons previously stated;

        IT IS ORDERED that the Motions are DENIED in their entirety.

        New Orleans, Louisiana, this 12th day of May, 2015.



                                      ____________ ________ __________
                                               SUSIE MORGAN
                                        UNITED STATES DISTRICT JUDGE




108 See R. Doc. 317, p. 10 ("[T]here is nothing linking Sidney Patterson to that house or the contents of that

house.").
109 Rakas, 439 U.S. at 134 (emphasis added).


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